Exhibit

Fy 2

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USDA
ei U.S. Department of Agriculture
FRANKLIN COUNTY FARM SERVICE AGENCY
FEDERAL BLDG, 200 S JEFFERSON
WINCHESTER, TN 37398

USDA Receipt for Service

This is NOT a Bill

Customer:

Corey Lee

3430 Magruder Dr
Murfreesboro, TN 37129

Email: cowtownfoundation@gmail.com

Date of Service: 04/19/2023
Receipt No: 9356223

Summary of Visit
What Brought Customer to USDA
* Other (Note in Customer Interaction Description)

Additional Information: New Customer interested in FSA Direct loans for the following: purchase Land
$3,750,000, Equipment $1,250,000, and Processing Facility $5,000,000.

Service Center Details

Employee: JANICE YORK
Office: FRANKLIN COUNTY FARM SERVICE AGENCY
Contact Method: Email

Program Area of Interaction

¢ FLP - Farm Operating Loan
¢ FLP - Farm Ownership Loan

Items Received from Customer

¢ FSA-2001 Request for Direct Loan Assistance

Items Provided to Customer
* Other - Described in Detail Field

Additional Information: Mailed FSA-2305

Questions, Comments?

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If you have questions or concerns about the service you received related to this receipt, please contact:

FRANKLIN COUNTY FARM SERVICE AGENCY
FEDERAL BLDG, 200 S JEFFERSON
WINCHESTER, TN 37398

931-967-2521

Andy.strike@usda.gov

www.fsa.usda.gov

Thank you for your business and contribution to agriculture!

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Submit your completed form or letter to USDA by: (1) mail: U.S. Department of Agriculture, Office of the Assistant Secretary for
Civil Rights, 1400 Independence Avenue, SW, Washington, D.C. 20250-9410; (2) fax: (202) 690-7442; or (3) email:

program. intake@usda.gov.

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